Case
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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA,                      )
                                                  )
                   PLAINTIFF,                     )
                                                  )
          v.                                      )    Case No. 1:20-cr-00096-TWP-DLP-7
                                                  )
   DESIRAE EVANS,                                 )
                                                  )
                   DEFENDANT.                     )


                                                  ORDER

          This matter came before the Court on Defendant’s Unopposed Motion to Continue Guilty

   Plea Hearing. The Court, having reviewed the motion and being duly advised, hereby finds that

   the relief sought therein should be granted.

          It is, therefore, ORDERED that the guilty plea hearing currently scheduled for October

   15, 2020, at 10:00 a.m. is hereby continued to October 22, 2020, at 10:30 a.m. in Courtroom 349.

          SO ORDERED.

          Date: 9/28/2020

                                                      ________________________
                                                      Hon. Tanya Walton Pratt, Judge
                                                      United States District Court
                                                      Southern District of Indiana

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